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                    UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF OREGON
                             PORTLAND DIVISION

TIFFANY HOPKINS,                              Case No. 3:18-cv-01960-BR
            Plaintiff,                        PLAINTIFF’S OPPOSITION TO
                                              DEFENDANT CITIBANK, N.A.’S
      v.                                      MOTION TO COMPEL
                                              ARBITRATION
CITIBANK, N.A.,
            Defendant.


      Plaintiff Tiffany Hopkins (“Plaintiff”) hereby submits this Memorandum of
Law and Authorities in Opposition to Defendant Citibank N.A.’s (“Defendant”)
Motion to Compel Arbitration. Plaintiff does not oppose arbitration as a general
matter. However, Plaintiff does oppose arbitration before AAA and therefore
requests that the Court allow the Parties to proceed before JAMS.




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I.    INTRODUCTION.
      From the very beginning of this case, Plaintiff has consistently agreed to
stipulate to arbitration; the sole disputed issue is under what forum: JAMS or AAA.
Pursuant to the relevant agreement, Plaintiff elected to arbitrate under JAMS.
Defendant denied Plaintiff’s election and has instead insisted that arbitration must
proceed before AAA. Surprisingly, nowhere in its motion does Defendant point out
Plaintiff’s willingness to stipulate to arbitration and that the basis of their motion is
their insistence that arbitration proceed before AAA. Because of Defendant’s lack
of candor to the Court, the Court should exercise its inherent powers and strike the
motion.
      Alternatively, the Court should deny the motion inasmuch as it seeks an order
compelling arbitration under AAA because Defendant has not established that it ever
lawfully amended the Sears Card agreement. This is so because the Defendant’s
representative has no foundation whatsoever to establish that the amendment was
ever mailed to Plaintiff, not by personal knowledge, not by business practices, nor
by business records.
      Finally, the delegation clause is unreasonable because arbitrating before AAA
would deprive Plaintiff’s right to elect to arbitrate before JAMS, as the agreement
provides, and because Defendant has not established that it complied with the
procedure to amend the Sears Card agreement.
      Therefore, Plaintiff requests that the Court strike or deny Defendant’s motion
and stay this case for the parties to negotiate before what forum the arbitration should
proceed.
II.   PROCEDURAL BACKGROUND.
      On or about January 17, 2019, the parties began discussing the possibility of
stipulating to arbitration. (See, Declaration of Sharon Cousineau, Ex. 1.) On January
25, Plaintiff expressed that she would stipulate to arbitration under JAMS as


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provided for in the Sears Card agreement. (Id. para. 3.) Defendant opposed
arbitration under JAMS arguing that a purported change in the agreement only
provided for arbitration under AAA and provided an oddly redacted letter. (Id. para.
4.) Plaintiff responded that the letter purporting to contain the amendment removing
JAMS as an option was not addressed to Plaintiff. (Id. para. 5.) Defendant responded
that the letter was an exemplar and attached a declaration by a representative of
Defendant as to the exemplar. (Id. para. 6.) The parties did not agree on what forum
was going to be used to arbitrate Plaintiff’s claims, yet Plaintiff expressed that she
would stipulate to arbitration and that the parties could negotiate before what forum
to arbitrate outside of court. (Id. para. 7.) Defendant stated that it would be moving
for arbitration under AAA. (Id. para. 8.)
III.   RELEVANT FACTS.
       Plaintiff opened two Citibank credit cards; Sears and Costco (“Sears Card”
and “Costco Card”). (Docs. 14, ¶ 4, 15 ¶ 4). The Sears Card contains the following
arbitration agreement in part:
                                      ARBITRATION

             PLEASE   READ     THIS    PROVISION   OF   THE
             AGREEMENTCAREFULLY. IT PROVIDES THAT ANV
             DISPUTE   MAY    BE    RESOLVED    BV  BINDING
             ARBITRATION. ARBITRATION REPLACES THE RIGHT
             TO GO TO COURT, INCLUDING THE RIGHT TO A JURV
             AND THE RIGHT TO INITIATE OR PARTICIPATE IN A
             CLASS ACTION OR SIMILAR PROCEEDING. IN
             ARBITRATION, A DISPUTE IS RESOLVED BV AN
             ARBITRATOR INSTEAD OF A JUDGE OR JURY.
             ARBITRATION PROCEDURES ARE SIMPLER AND MORE
             LIMITED THAN COURT PROCEDURES.

             Agreement to Arbitrate: Either you or we may, without the other’s
             consent, elect mandatory, binding arbitration for any claim, dispute,
             or controversy between you and us (called “Claims”).
                                      Claims Covered

             What Claims are subject to arbitration? All Claims relating to
             your account, prior related account or our relationship are subject to
             arbitration, including Claims regarding the application,
             enforceability, or interpretation of this Agreement and this


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             arbitration provision. All Claims are subject to arbitration, no matter
             what legal theory they are based on or what remedy (damages, or
             injunctive or declaratory relief) they seek. This includes Claims
             based on contract, tort (including intentional tort), fraud, agency,
             your or our negligence, statutory or regulatory provisions, or any
             other sources of law; Claims made as counterclaims, cross-claims,
             third-party claims, interpleaders or otherwise; and Claims made
             independently or with other claims. A party who initiates a
             proceeding in court may elect arbitration with respect to any Claim
             advanced in that proceeding by any other party. Claims and
             remedies sought as part of a class action, private attorney general or
             other representative action are subject to arbitration on an individual
             (non-class, non-representative) basis, and the arbitrator may award
             relief only on an individual (non-class, non-representative) basis. . .

                                   How Arbitration Works
             How does a party initiate arbitration? The party filing an
             arbitration must choose one of the following two arbitration firms
             and follow its rules and procedures for initiating and pursuing and
             arbitration: American Arbitration Associations or JAMS. Any
             arbitration hearing that you attend will be held at a place chosen by
             the arbitration firm in the same city as the U.S. District Court closest
             to your then current billing address, or at some other place to which
             you and we agree in writing. You may obtain copies of the current
             rules of each of the arbitration firms or forms and instructions for
             initiating an arbitration by contacting them as follows:

                    American Arbitration Association
                    800-778-7879 (toll-free)
                    Website: www.adr.org

                    JAMS
                    800-352-5267 (toll-free)
                    Website: www.jamsadr.com

             At any time you or we may ask an appropriate court to compel
             arbitration of Claims, or to stay the litigation of Claims pending
             arbitration, even if such Claims are part of a lawsuit, unless a trial
             has begun or a final judgment has been entered. Even if a party fails
             to exercise these rights at any particular time, or in connection with
             any particular Claims, that party can still require Arbitration at a
             later time or in connection with any other Claims.
(Doc. 14, Ex. 1, at 11-13) (emphasis added).
      The Sears Card contains the following provision regarding amendments to the
agreement:
                                 Changes to this Agreement
      We may change the rates, fees, and terms of this Agreement from time to time



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      as permitted by law. The changes may add, replace, or remove provisions of
      this Agreement. We will give you advance written notice of the changes and a
      right to opt out to the extent required by law.
(Id. at 12) (emphasis added).
IV.   LEGAL STANDARD.
      Parties can seek judicial enforcement of an arbitration agreement under FAA
§4. “[C]ourts must rigorously enforce arbitration agreements according to their
terms, including terms that ‘specify with whom [the parties] choose to arbitrate
their disputes,’ and ‘the rules under which that arbitration will be conducted.’” Am.
Exp. Co. v. Italian Colors Restaurant, 570 U.S. 228, 233 (2013) (quoting Stolt-
Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 683 (2010); Volt Information
Sciences, Inc. v. Board of Trustees of Leland Stanford Junior Univ., 489 U.S. 468,
479 (1989)) (emphasis added).
V.    ARGUMENT.
         a. The Court Should Strike Defendant’s Motion For Violating Its
             Duty Of Candor To The Court.
      The Court should exercise its inherent powers and strike Defendant’s motion
because Plaintiff has always stated that she would stipulate to arbitration, and that
the issue of what forum should arbitrate her claims could be decided outside of court,
yet Defendant’s sole argument in its motion is for an order to compel arbitration “in
accordance with the express terms of the valid and enforceable Arbitration
Agreement.” (Doc. 13 at 13.) As is evident from counsel’s email exchange, whether
Plaintiff’s claims should proceed before arbitration was never disputed, the sole
issue being whether arbitration should proceed before JAMS or AAA. (Decl. of
Cousineau, para. 7.) However, Defendant does not mention anywhere that it is in
truth seeking an order to compel arbitration before AAA. (See, doc. 13.) Defendant’s
failure to candidly state to the Court the actual purpose of its motion, especially on


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the face of Plaintiff’s clear indications that Plaintiff never opposed to arbitrate her
claims, is a violation of Defendant’s duty of candor to the Court. Therefore, the Court
should exercise its inherent powers and sanction Defendant by striking Defendant’s
motion and awarding Plaintiff’s attorneys’ fees in connection with this motion.
          b. The 2016 Amendment Is Unenforceable Because Defendant Did
             Not Provide Advance Notice As Required Under The Agreement.
      The 2016 Amendment to the Sears Card terms —eliminating JAMS as an
option— is unenforceable because Defendant has not established that it gave
advanced notice as required under the terms of the agreement and S.D. Codified
Laws §54-11-12. The Sears Card agreement provides: “We will give you advance
written notice of the changes and a right to opt out to the extent required by law.”
(Doc. 14 at 12) (emphasis added). The South Dakota statute provides: “A credit card
issuer may change the terms of any credit card agreement if such right of amendment
has been reserved. A credit card issuer shall provide notice of such change. . .” S.D.
Codified Laws §54-11-12.
      Defendant has not established that it gave advance written notice of the 2016
“amendment” to Plaintiff because the Declaration of Grayot does not establish that
the letter was mailed to Plaintiff. While Grayot makes the general allegation that the
letter was “mailed to Plaintiff on or about November 2015[]”, id. at 3, para. 8, he
does not establish the necessary foundation for his allegation. Grayot does not state
that he himself mailed the letter to Plaintiff. (Id. at 1, para. 2 (“In connection with
my employment, I have personal knowledge of Citibank’s general business practices
with respect to its credit card accounts. . . I have access to the business records
relating to the credit card accounts Citibank issues including, in particular, the
records of cardmember accounts and the applicable card agreements.”)
      To establish that the letter was “mailed on or about November 2015” Grayot
had to base his knowledge on either business practices or business records. Grayot


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has not established the necessary business-practices foundation because he does not
state what are Defendant’s business customs and practices relevant to mailing in
general, and even less as to mailing of amendments to credit card agreements. United
States v. Putnam, 908 F.2d 978 (9th Cir. 1990) (citing Wells Fargo Business Credit
v. Ben Kozloff, Inc., 695 F.2d 940, 944 (5th Cir.), cert. denied, 464 U.S. 818 (1983)
(noting that “[p]lacing letters in the mail may be proved by circumstantial evidence,
including customary mailing practices used in the sender’s business”); Meckel v.
Continental Resources Co., 758 F.2d 811, 817 (2d Cir. 1985) (holding that “the
presence of such proof [of regular mailing procedures] establishes prima facie
evidence of the mailing and creates a rebuttable presumption as to receipt”). To the
contrary, it appears that Defendant did not follow its mailing practices for the
amendment to the Sears Card, which practices include the notation on its records
that such an amendment was sent.
      Grayot has also failed to establish the business-records foundation because he
merely attaches an “exemplar” and provides no basis for when and if the letter was
in fact mailed. The date alleged —“on or about November 2015”— is too imprecise
for a business record, especially on this day and age when computers automatically
generate, print and address letters, keeping precise records of their activities.
Grayot’s general allegation is also contrastable with Defendant’s contentions about
the Costco Card, where Defendant’s representative clearly states the day, month and
year of the mailing of the letter. (Id.)
      Defendant suggested in an email that Plaintiff received the 2016 amendment
because it provided an “exemplar” of the letter. (Decl. of Cousineau, para. 6.)
Defendant’s argument fails because an exemplar is proof only of the contents of a
writing and not as proof of mailing. Cf. Hadlock v. Norwegian Cruise Line, Ltd., No.
SACV10-0187AGANX, 2010 WL 1641275, at *1 (C.D. Cal. Apr. 19, 2010) (“An
exemplar of what Defendant normally gives to customers is evidence of what


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Plaintiff received.”) (emphasis added.) See also, In Re: Midland Credit
Management, Inc. Telephone Consumer Protection Litigation, No. 11MD2286-
MMA (MDD), 2019 WL 398169, at *4 (S.D. Cal. Jan. 31, 2019) (resolving the
parties dispute as to the terms of their agreement based on an attested exemplar).
Because Defendant has not established that Plaintiff received the 2016 amendment
as required under the terms of the Sears Card agreement and S.D. Codified Laws
§54-11-12, the amendment is unenforceable and therefore Plaintiff can elect to
arbitrate under JAMS.
          c. Plaintiff’s Claims Related To Her Costco Card Are Also Arbitrable
             Before JAMS Under The Terms Of The Sears Card Agreement.
      Plaintiff’s claims related to her Costco Card are also arbitrable before JAMS
because the Sears Card agreement expressly provides that the arbitration agreement
covers claims that are related to the Sears Card or Plaintiff’s relationship to
Defendant. “What Claims are subject to arbitration? All Claims relating to your
account, prior related account or our relationship are subject to arbitration . . .” (Doc.
14 at 12-13.) Defendant strongly argues that the Court should order arbitration. (Doc.
13 at 6-8; at 7 (“Under the FAA, arbitration must be compelled where, as in this
case: (1) a valid, enforceable agreement to arbitrate exists; and (2) the claims at issue
fall within the scope of that agreement.”) (citation omitted) (emphasis added.)
Because the Sears Card agreement requires that the relationship between the parties
also be arbitrated, the Court should order arbitration under JAMS.
      Alternatively, should the Court refuse to order arbitration before JAMS of
Plaintiff’s claims related to her Costco Card, Plaintiff requests that the Court deny
Defendant’s motion because it is premature. Defendant’s motion is premature
because Defendant has not established that Plaintiff’s claims can be adequately
allocated to either her Sears or her Costco Cards. Therefore, the Court should deny
Defendant’s motion as premature.


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          d. The Delegation Clause Is Unenforceable Because It Would Deprive
             Plaintiff Of Her Right To Choose To Arbitrate Under JAMS, And
             It Is Disputed That Plaintiff Received The 2016 Amendment.
      The Court —and not an arbitrator— has jurisdiction over the enforceability of
the arbitration agreement because Plaintiff’s right to elect to arbitrate under JAMS
is effectively eliminated if the Court were to order arbitration under AAA. The Court
should also retain jurisdiction because Plaintiff disputes receiving the 2016
“amendment”. “A party contesting the enforceability of a delegation clause must
“challenge[ ] the delegation provision specifically.” Rent-A-Center, West, Inc. v.
Jackson, 561 U.S. 63, 70, 72 (2010).
      Here, the delegation clause is unenforceable because compelling arbitration
under the administration of the AAA would effectively deprive Plaintiff of her
contractual right to elect to arbitrate before JAMS, or in violation of the original
arbitration agreement without having established that it was amended. Under the
arbitration agreement, Plaintiff has the right to choose between JAMS and AAA.
The arbitration agreement clearly states that Plaintiff —and not Defendant— elects
the forum. (Docs. 14 at 13 (“The party filing an arbitration must choose one of the
following two arbitration firms and follow its rules and procedures for initiating and
pursuing and arbitration: American Arbitration Associations or JAMS.”)) Once
Defendant sought Plaintiff’s stipulation to proceed in arbitration, Plaintiff elected to
arbitrate under JAMS. (Decl. of Cousineau, para. 3.) Defendant refused to arbitrate
under JAMS arguing that the “agreement” only provided for arbitration under AAA.
(Id. para. 4.) Plaintiff has consistently agreed to stipulate to arbitration and resolve
before what forum to proceed with arbitration, without the need of judicial
intervention. (Id. para. 7.) Defendant dug in its heels and filed the instant motion.
Because the dispute as to whether the arbitration agreement allows Plaintiff to elect




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to arbitrate under JAMS or requires arbitration to proceed under AAA must be
resolved before an arbitrator is appointed, the delegation clause is unenforceable.
   VI.     CONCLUSION.
      Fundamentally, the instant motion is a waste of time and resources. Plaintiff
has never refused to arbitrate her claims. She has elected to arbitrate her claims with
JAMS, which she is has been consistently willing to do, and she should be allowed
to file her claim in her contractually-provided elected forum.           Under these
circumstances, the Court should stay the case pending the parties’ negotiation of
what arbitration forum should administrate Plaintiff’s claims. Additionally, the
Court should strike Defendant’s motion and sanction Defendant to pay Plaintiff’s
attorneys’ fees in connection with this motion. Alternatively, the Court should deny
Defendant’s motion inasmuch as it requests arbitration under the administration of
AAA because the Defendant has not established that it gave notice of the purported
2016 amendment. If the court is inclined to entertain Defendant’s motion, the Court
should order arbitration before JAMS. Regardless, the Court should retain
jurisdiction over these disputes because the delegation clause is unreasonable as it
would deprive Plaintiff of her right to elect to arbitrate under JAMS, and because
Plaintiff is disputing having received the 2016 “amendment”.

                                               By:/s/ Sharon Cousineau .
                                               Sharon Cousineau
                                               Attorneys for Plaintiff,
                                               Tiffany Hopkins




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                            CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing pleading was filed electronically with the Clerk
of Court using the CM/ECF system on the 8th day of February. Notice of this filing will be
sent to the parties of record by operation of the Court’s electronic filing system, including
plaintiff’s counsel. Parties may access this filing through the Court’s system.


/s/ Sharon Cousineau




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